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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 Orient Plus International Limited; Union Hi-
 Tech Development Limited; and Golden
 Genius International Limited,
                                                         Civil Action No. 1:24-cv-00744-JLR
                          Plaintiffs,

 vs.

 Baosheng Media Group Holdings Limited;
 Wenxiu Zhong; Sheng Gong; Yu Zhong;
 Zuohao Hu; Adam (Xin) He; Yue Jin; Yanjun
 Hu; Univest Securities, LLC; The Benchmark
 Company, LLC; WestPark Capital, Inc.;
 Friedman LLP; and Marcum LLP,

                           Defendants.

   DECLARATION OF ADAM (XIN) HE IN SUPPORT OF DEFENDANTS WENXIU
 ZHONG, SHENG GONG, YU ZHONG, ZUOHAO HU, ADAM (XIN) HE, YUE JIN, AND
YANJUN HU’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT


          I, Adam (Xin) He, hereby declares the following under penalties of perjury pursuant to 28 U.S.C.

§ 1746:

          1.     I am a past independent director of Defendant Baosheng Media Group Holdings

Limited (“Baosheng”).

          2.     I resigned as a Baosheng independent director on February 10, 2022.

          3.     I currently live and work in Chicago, Illinois. I do not maintain a residential address in

New York or have any other contacts with the State of New York.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




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Date:        June 24, 2024
             New York, NY


                                        /s/
                                        Adam (Xin) He




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